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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                         )
                                                    )
                               Plaintiff,           )
                                                    )
                       v.                           ) Case No. 1:12-cr-00102-TWP-DML-51
                                                    )
  ROBERT MUEHLHAUSEN,                               )
                                                    )
                               Defendant.           )

                              ENTRY ON MOTION TO DISMISS

        This matter is before the Court on Defendant Robert Muehlhausen’s (“Mr.

 Muehlhausen”) Motion to Dismiss Count 45 of the Superseding Indictment, pursuant to Federal

 Rules of Criminal Procedure 12 and 47. On June 3, 2013, the Court heard argument on the

 Motion and now makes its ruling. Because the Court finds that 18 U.S.C. § 922(g)(1) is not

 unconstitutional as applied to Mr. Muehlhausen, his Motion to Dismiss (Dkt. 1549) is DENIED.

                                        I. BACKGROUND

        On July 11, 2012, federal agents and law enforcement personnel arrived at Mr.

 Muehlhausen’s residence in search of Pamela Cummins, a co-defendant in this multi-defendant

 action. Mr. Muehlhausen permitted agents to enter and search his residence, including a gun

 safe. Agents discovered a number of firearms in the residence, and later determined that Mr.

 Muehlhausen was a convicted felon. On February 11, 1986, Mr. Muehlhausen was convicted of

 larceny from a person in Michigan, and sentenced to a six-month term of incarceration and three

 years’ probation. In addition to his felony conviction, Mr. Muehlhausen sustained misdemeanor

 convictions in 1988 for resisting and obstructing an officer, assault, and possession of marijuana.
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 Because he was a convicted felon, Mr. Muehlhausen was charged under 18 U.S.C. § 922(g)(1) as

 a felon in possession of a firearm in Count 45 of the Superseding Indictment in this case.

        Mr. Muehlhausen enlisted in the U.S. Army in 1981 when he did not have any

 convictions. At the time of his felony conviction, he was serving in the U.S. Armed Forces. He

 continued to serve in the Armed Forces after his 1986 conviction, including multiple tours of

 duty overseas in both Afghanistan and Iraq, during war times. Mr. Muehlhausen is currently a

 Sergeant First Class in the Army Reserve. He has received commendations, including the

 Bronze Star medal, for his service. In conjunction with his military service, Mr. Muehlhausen

 has received secret security clearance for access to secure computer networks. To receive

 clearance, he went through background checks in 1992 and 2009. Mr. Muehlhausen testified

 that in approximately 1990, he was referred to the FBI for a background check to join the

 Michigan National Guard. According to Mr. Muehlhausen, his 1986 conviction was a major

 issue in the 1992 background check, but the issue was adjudicated and after two years, he

 received clearance. Then, in 2009, Mr. Muehlhausen was interviewed at Camp Atterbury as part

 of a subsequent background check. The 2009 check took approximately four months, most

 likely because his conviction had been previously vetted and adjudicated in 1992.

        The Superseding Indictment lists thirteen firearms that were found in and seized from Mr.

 Muehlhausen’s residence. One of the firearms, a Walther P22 pistol, is a stolen firearm, though

 Mr. Muehlhausen says he purchased it at a gun show complete with the case and serial number,

 factory bar codes, stickers, and accessories. Of the thirteen firearms in his possession, Mr.

 Muehlhausen received eight from his grandfather or father, two were received as either a trade or

 payment from a fellow soldier, one—the stolen firearm—was purchased at a gun show, one was




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 purchased privately, and one was broken and in Mr. Muehlhausen’s possession so he could fix it

 for a friend.

                                        II. DISCUSSION

         Mr. Muehlhausen moves to dismiss the indictment against him by contending that 18

 U.S.C. § 922(g)(1) is unconstitutional as applied to him. He does not challenge the facial

 constitutionality of § 922(g)(1), noting the pronouncement in District of Columbia v. Heller, 554

 U.S. 570, 626 (2008) that “nothing in our opinion should be taken to cast doubt on longstanding

 prohibitions on the possession of firearms by felons and the mentally ill.” See McDonald v. City

 of Chi., 130 S. Ct. 3020, 3047 (2010) (quoting and affirming the statement from Heller quoted

 above). Instead, Mr. Muehlhausen argues the Government cannot prove the law should apply to

 his personal circumstances.

         Mr. Muehlhausen relies on United States v. Williams, 616 F.3d 685 (7th Cir. 2010) and

 United States v. Skoien, 614 F.3d 638 (7th Cir. 2010) (en banc). In Skoien, the Seventh Circuit

 found that some categorical bans on the possession of firearms are constitutional, and the

 categories are not “restricted to those recognized in 1791, when the states approved the Bill of

 Rights.” 614 F.3d at 641. However, the Seventh Circuit rejected the rational basis test as

 justification for a categorical ban, and held that “some form of strong showing (‘intermediate

 scrutiny,’ many opinions say) is essential”; that is, a categorical ban on the possession of

 firearms “is valid only if substantially related to an important governmental objective.” Id. In

 Williams, the Seventh Circuit explained that the objective of § 922(g)(1) is to “keep firearms out

 of the hands of violent felons, who the government believes are often those most likely to misuse

 firearms.” 616 F.3d at 693. To determine if § 922(g)(1) is constitutional in an as-applied




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 challenge, the Government must show a substantial relationship between the objective and a

 defendant’s violent past. Id.

        Mr. Muehlhausen contends the Government cannot meet its burden that as applied to

 him, there exists a substantial relationship between the Government’s objective of preventing

 felons’ access to guns due to his “violent” past. See id. Specifically, Mr. Muehlhausen argues

 that since his felony conviction in 1986, he “has lived a substantially law-abiding life, has

 enlisted and served his country in the United States Armed Forces, [and] has obtained security

 clearance.” Dkt. 1549 at 8. Mr. Muehlhausen relies heavily on his military service and the fact

 that “the Government has authorized [him] to bear arms in her defense and in pursuit of liberty in

 theaters of war.” Dkt. 1549 at 8. Because of this service, Mr. Muehlhausen argues it is

 incongruous to allow him to bear arms to protect the public on one hand, but to deny him his

 Second Amendment right to bear arms to protect himself in his home on the other. Moreover, he

 argues that he is not the sort of person Congress envisioned as a violent and risky felon,

 especially considering the passage of time between his 1986 conviction and instant 2012 charge.

        To further support this position, Mr. Muehlhausen directed the Court during argument to

 United States v. Barton, 633 F.3d 168 (3d Cir. 2011), in which the Third Circuit stated that:

        To raise a successful as-applied challenge, [the defendant] must present facts
        about himself and his background that distinguish his circumstances from those of
        persons historically barred from Second Amendment protections. For instance, a
        felon convicted of a minor, non-violent crime might show that he is no more
        dangerous than a typical law-abiding citizen. Similarly a court might find that a
        felon whose crime of conviction is decades-old poses no continuing threat to
        society.

 Id. at 174. However, the defendant in Barton was unable to produce such facts. Id. Unlike in

 Barton, Mr. Muehlhausen argues his situation is the anomaly case where he can produce such

 facts that prevent the Government from satisfying its burden. The Court is not persuaded. While



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 sympathetic to Mr. Muehlhausen’s argument, the Court cannot find that § 922(g)(1) is

 unconstitutional as applied to him.

        First, Mr. Muehlhausen was convicted of larceny from a person. See Mich. Comp. Laws

 § 750.357. Specifically, the offense involved Mr. Muehlhausen confronting a pizza delivery

 man and stealing from his person, pizzas. In the context of applying federal sentencing

 guidelines, the Sixth Circuit has concluded that larceny from a person, as defined by Michigan

 law, creates a substantial risk of physical harm to another. United States v. Payne, 163 F.3d 371,

 375 (6th Cir. 1998). Thus, the court determined, the crime of larceny from a person was a crime

 of violence. See United States v. Howze, 343 F.3d 919, 924 (7th Cir. 2003) (overruling a prior

 case and holding that “theft from a person is a violent felony under the Armed Career Criminal

 Act”). Likewise, this Court finds that Mr. Muehlhausen’s felony created a substantial risk of

 physical harm to another person and was therefore a crime of violence.

        Second, Mr. Muehlhausen does not dispute that in addition to his felony, he has

 additional misdemeanor convictions for resisting and obstructing an officer, assault, and

 possession of marijuana, which does not support Mr. Muehlhausen’s claim that he has been a

 law-abiding citizen. And it is “well-established that felons are more likely to commit violent

 crimes than are other law-abiding citizens.” Barton, 633 F.3d at 175. Thus, even if the larceny

 conviction were not a felony conviction for a crime of violence, the absence of a violent felony

 conviction alone is not dispositive.     The Government has a legitimate interest in keeping

 someone with Mr. Muehlhausen’s prior conduct history from possessing firearms.

         Third, Mr. Muehlhausen’s military service, although it supports his claim and is most

 admirable, does not negate his criminal past. Mr. Muehlhausen has presented no authority or

 case law to support that military service can negate a crime of violence.



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           Fourth, as the Government argued at the hearing, Heller and McDonald clearly uphold

 the long-standing regulatory measure that prohibits the possession of firearms by felons.

 Although in Skoien and Williams, the Seventh Circuit left the door open for an as-applied

 challenge, neither party nor the Court could locate any district court in the country that has ruled

 that the Second Amendment renders § 922(g)(1) unconstitutional as applied to a particular

 defendant.1 Thus, for the reasons stated, the Court finds that the Government has met its burden

 of showing a substantial relationship between § 922(g)(1)’s objective and Mr. Muehlhausen’s

 violent past.

          Finally, as the Government argued at the hearing, had Mr. Muehlhausen wished to legally

 possess firearms, he has a statutory remedy available to him in Michigan. Under Michigan

 Compiled Laws § 28.424, a convicted felon may submit an application for restoration of those

 rights five years after three conditions have been met:

          (i)      The person has paid all fines imposed for the violation resulting in the
                   prohibition.
          (ii)     The person has served all terms of imprisonment imposed for the violation
                   resulting in the prohibition.
          (iii)    The person has successfully completed all conditions of probation or
                   parole imposed for the violation resulting in the prohibition.

 Under 18 U.S.C. § 921(a)(2), “[a]ny conviction which has been expunged, or set aside or for

 which a person has been pardoned or has had civil rights restored shall not be considered a

 conviction” for purposes including § 922(g)(1). Given this potential remedy, the Court is even

 more convinced that Mr. Muehlhausen’s circumstances do not present the anomaly which would

 survive a constitutional challenge to § 922(g)(1).
 1
   To the contrary, in United States v. Rozier, 598 F.3d 768 (11th Cir. 2010), the Eleventh Circuit stated that Heller’s
 pronouncement that “nothing in our opinion should be taken to cast doubt on longstanding prohibitions on the
 possession of firearms by felons,” Heller, 554 U.S. at 626, “suggests that statutes disqualifying felons from
 possessing a firearm under any and all circumstances do not offend the Second Amendment.” Rozier, 598 F.3d at
 771. See generally United States v. Smoot, 690 F.3d 215, 220 n.6 (4th Cir. 2012) (listing circuit cases in which
 constitutional challenges to § 922(g)(1) have been rejected at least in part on the “presumptively lawful” language
 from Heller).

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                                      III. CONCLUSION

        Accordingly, Mr. Muehlhausen’s Motion to Dismiss (Dkt. 1549) is DENIED.           As

 applied to Mr. Muehlhausen, 18 U.S.C. § 922(g)(1) is constitutional.


        SO ORDERED.

        06/17/2013
 Date: ______________

                                                    ________________________
                                                    Hon. Tanya Walton Pratt, Judge
                                                    United States District Court
                                                    Southern District of Indiana
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